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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                        *
                                                 *
       v.                                        *       CRIMINAL NO. TDC-23-0381
                                                 *
 SAMUEL SWEELEY,                                 *
                                                 *
       Defendant.                                *
                                                 *
                                              *******

              GOVERNMENT’S MEMORANDUM IN AID OF SENTENCING

       The Government submits this memorandum in anticipation of the sentencing of the

defendant, Samuel Sweeley (the “Defendant”). The Court has scheduled sentencing for Tuesday,

July 23, 2024 at 9:30 a.m. 1 The Government respectfully requests that the Court sentence the

Defendant to 37 months of incarceration, to be followed by a term of supervised release of

three years. The Government does not seek restitution, but does ask the Court to impose the

mandatory $100 special assessment fee. The Government believes that this sentence is sufficient,

but not greater than necessary, to achieve the sentencing goals set forth in 18 U.S.C. § 3553.

       I.       Summary of Facts
       On September 4, 2022, at approximately 2:38 a.m., the Defendant was driving his Lexus

SUV northbound on the Baltimore-Washington Parkway (“BW Parkway”) approaching the exit

ramp to the inner loop of I-495/I-95, in Maryland. The BW Parkway adds a third lane of

northbound travel prior to the I-495/I-95 exchange, with two lanes of travel northbound and one

exit lane for the exit ramp to I-495/I-95. The Defendant moved to the exit lane but failed to exit

and continued to travel northbound on the BW Parkway, entering the shoulder area. Approximately



       1
         The Government anticipates that Victim 2 and family and friends of Victim 1 may
allocute at the sentencing hearing.
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ten to fifteen feet beyond the exit ramp, the Defendant drove his vehicle into the rear of an occupied

Hyundai Elantra sedan, which had been parked on the shoulder with its hazards on. Witnesses

promptly called for emergency assistance.

       Prince George’s County Fire and Emergency Medical Services responded to the call, with

United States Park Police (“USPP”) arriving shortly thereafter at approximately 2:58 a.m. Prince

George’s County Fire and Emergency Medical Services advised USPP that the male driver, Victim

1, of the Hyundai was deceased and that the female passenger, Victim 2, was transported to the

hospital. The Defendant, the only occupant of the Lexus, was still on the scene.

       The Defendant did not appear injured and consented to a blood draw. A USPP officer

transported the Defendant to the hospital for a blood draw, but the Defendant subsequently

declined to allow one to occur. While at the hospital and speaking with the Defendant, law

enforcement noticed that there was an odor of an alcohol emanating from his person and breath.

Law enforcement also observed that the Defendant had red, watery, bloodshot eyes and was

slurring his speech.

       A USPP officer then administered filed sobriety tests, including: 1) horizontal gaze

nystagmus; 2) walk and turn; and 3) one leg stand. As a result of the tests, law enforcement

determined that the Defendant was under the influence of alcohol.

       At 5:26 a.m., law enforcement obtained a warrant for a blood draw. The warrant was

approved at 5:33 a.m. the Defendant was advised of the existence of the warrant and refused to

comply with having his blood drawn. The first request for his blood was made at 5:36 a.m.

Subsequent requests were made at 5:51 a.m. and 6:23 a.m. At 6:48 a.m., the Defendant’s blood

was drawn and was found positive for the presence of alcohol at a level of .15 grams of alcohol

per 100 milliliters of blood.
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       USPP investigated the circumstances of the collision and determined that the primary

causes of the fatal crash were that the Defendant improperly utilized a parallel deceleration lane,

was traveling 80 miles per hour in a zone with a posted speed limit of 55 miles per hour, and was

under the influence of alcohol at the time of the crash.

       An autopsy conducted by the Maryland Office of the Chief Medical Examiner determined

that Victim 1’s cause of death was a result of multiple injuries suffered on the crash caused by the

Defendant.

       II.     Procedural Background
       On October 27, 2023, the Defendant was charged by indictment with involuntary

manslaughter, in violation of 18 U.S.C. § 1112(b) (Count One); driving under the influence of

alcohol, in violation of 36 C.F.R. § 4.23 (Count Two); reckless driving, in violation of 36 C.F.R.

§ 4.2, incorporating Maryland Transportation Article (“MTA”) § 21-901.1(a) (Count Three); and

speeding, in violation of 36 C.F.R. § 4.21(c). The Defendant had an initial appearance and

arraignment on November 1, 2023. ECF No. 5. A rearraignment was held on February 29, 2023,

and the Defendant pled guilty to Count One and Count Two of the Indictment. ECF Nos. 30, 31.

       III.    Advisory Sentencing Guidelines
       Count One: Involuntary Manslaughter

       The Government agrees with the Presentence Report that the Defendant’s adjusted total

offense level is 19 and his criminal history category is I, resulting in an advisory guidelines range

of 30 to 37 Months.

       Total Offense Level: The base offense level for a violation of 18 U.S.C. § 1112(b)

involving the reckless operation of a means of transportation is 22 pursuant to U.S.S.G. §

2A1.4(a)(2)(B). PSR ¶ 21.
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       The Government agrees to a two-level reduction pursuant to U.S.S.G. § 3E1.1(a) for the

Defendant’s acceptance of responsibility.

       The Government will also move for a one-level reduction pursuant to U.S.S.G. § 3E1.1(b)

because the Defendant made a timely notification of his intention to enter a plea of guilty.

       Thus, the Defendant’s total adjusted offense level is 19. PSR ¶ 30.

       Criminal History Category: The Government agrees with the Presentence Report that the

Defendant’s criminal history category is I. PSR ¶ 34.

       Guidelines Range: The Government agrees with the Presentence Report that with an

adjusted offense level of 19 and a criminal history category of I, the advisory Guidelines range is

30-37 months of imprisonment. PSR ¶ 57.

       Count Two: Driving Under the Influence of Alcohol

       Driving under the influence of alcohol, in violation of 36 C.F.R. § 4.23 is a Class B

misdemeanor – therefore the sentencing guidelines do not apply. The Government agrees with the

Presentence Report that the maximum term of imprisonment available for Count Two is six months

of imprisonment.

       IV.     Statutory Sentencing Factors
       A district court must “begin all sentencing proceedings by correctly calculating the

applicable Guidelines range.” Gall v. United States, 552 U.S. 38, 49 (2007) (citing Rita v. U.S.,

551 U.S. 338 (2007)). After calculating the range, it must consider the § 3553(a) factors before

imposing the sentence. Id. at 49-50.

       The statutory factors for the Court’s consideration under 18 U.S.C. § 3553(a) include: (1)

the nature and circumstances of the offense and history and characteristics of the defendant and

(2) the need for the sentence imposed to reflect the seriousness of the offense, promote respect for

the law, provide just punishment, afford deterrence, protect the public and provide the defendant
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with needed services. “In determining the sentence to impose within the guideline range, or

whether a departure from the guidelines is warranted, the court may consider, without limitation,

any information concerning the background, character and conduct of the defendant, unless

otherwise prohibited by law.” U.S.S.G. § 1B1.4; see also 18 U.S.C. § 3661. “If the district court

decides to impose a sentence outside the guidelines range, it must ensure that its justification

supports the degree of the variance.” United States v. Evans, 526 F.3d 155, 161 (4th Cir. 2008)

(quoting Gall, 552 U.S. at 51). The district court is given “some latitude,” and “a degree of

deference,” to tailor a particular sentence to the circumstances. United States v. Green, 436 F.3d

449, 456-57 (4th Cir. 2006); United States v. Moreland, 437 F.3d 424, 433 (4th Cir. 2006).

                                                ***

       The Government submits that a sentence of 37 months imprisonment—which is at the top

of the applicable Guidelines range—is sufficient, but not greater than necessary, to achieve the

sentencing goals set forth in 18 U.S.C. § 3553. The Court should impose this sentence because

the nature and circumstances of the offense are serious, and this is the second offense in which the

Defendant has operated a motor vehicle while under the influence of alcohol – this time resulting

in the death of Victim 1 and serious injury of Victim 2.

           A. Nature and Circumstances of the Offense

       The Defendant committed a serious criminal offense: he killed an innocent person. The

Defendant drank more than the legal limit, drove his car recklessly and at very high rate of speed,

illegally continued driving his vehicle into a place of safety, and, as a result, he took another

person’s life and seriously injured another. As detailed in the victim impact statement submitted

by Victim 2 and Victim 1’s wife and brother, this crash has affected them deeply. See Exhibits

One through Three, Victim Impact Statements.
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       Courts have suggested that the Guidelines—which put the base offense level at 22—do not

adequately capture the seriousness of involuntary manslaughter. See, e.g., United States v. Lente,

759 F.3d 1149, 1159 (10th Cir. 2014) (affirming upward variance, in part, because “the history of

the involuntary manslaughter Guidelines indicates that the Commission, its working groups, and

others have repeatedly expressed concern that the sentencing ranges for involuntary manslaughter

generally . . . are too low”); United States v. Baker, 2022 WL 4235324, at *3 (D.N.M. Sept. 14,

2022) (observing that “the Guideline sentence for aggravated assault resulting in serious bodily

injury is higher than that for involuntary manslaughter involving reckless conduct”).

       Other defendants have been sentenced to lengthy jail sentences in this District for similar

conduct. See, e.g., United States v. Tervell Ham, 8:20-cr-258-TDC (42-month sentence after

pleading guilty); United States v. Stephonze Blakeney, 8:17-cr-00559-PX (36-month sentence after

conviction at trial for homicide by motor vehicle, which carries a maximum sentence of 4 years’

incarceration); United States v. Charles Wiggins, 8:14-cr-00488-GJH (54-month sentence after

conviction at trial); United States v. Kristen Smith, 8:10-cr-00069-RWT (51-month sentence after

conviction at trial); but see United States v. Brian English, 8:22-cr-241-TDC (18-month sentence

after pleading guilty).

           B. History and Characteristics of the Defendant

       The Defendant has prior criminal history directly relevant to the conduct at issue here. The

Defendant was previously convicted of Driving Under the Influence of Alcohol in this court in

2014 after being arrested for traveling at a rate of speed exceeding one-hundred miles per hour and

having a blood alcohol content of .089 – significantly above the posted speed limit while also over

the legal limit to operate a vehicle. PSR ¶ 33. The Defendant was sentenced to four days of

incarceration and twelve months of probation. PSR ¶ 33.
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       The government acknowledges that the Defendant has earned several degrees, that he

serves as an educator in Baltimore City Public Schools, and that he has maintained stable

employment. Since his arrest the Government also acknowledges that the Defendant has attended

substance abuse classes. PSR ¶ 50, 51, 52.

           C. Deterrence

       The serious nature of the Defendant’s conduct coupled with his prior conviction for the

same or similar crime which here led to the death of an innocent person presents the need for a

sentence to provide specific deterrence for this Defendant. Moreover, the Defendant’s prior

sentence did not provide the needed deterrence to prevent the death of Victim 1.

       As to general deterrence, imposing a sentence at top of the Guidelines will signal to the

general public that involuntary manslaughter is a serious crime and will result in a multi-year

prison sentence.

           D. Supervised Release

       The statutory maximum term of supervised release is three years. See 18 U.S.C. §

3583(b)(2). The Guidelines range for a term of supervised release is one to three years. U.S.S.G.

§ 5D1.2(a)(2). The Government respectfully requests a term of supervised release of three years

with conditions including abstinence from alcohol, alcohol treatment and testing, attendance of a

Mothers Against Drunk Driving victim impact panel meeting, ignition interlock on any vehicle

driven during the first twelve months of supervison, and an alcohol restriction on the Defendant’s

license. The Government submits that three years of supervised release with the recommended

conditions will help to ensure that the Defendant does not abuse alcohol in the future.
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                                      CONCLUSION

       For the foregoing reasons, and any additional information that may be presented at the

sentencing hearing, the Government respectfully requests that the Court impose a term of

imprisonment of 37 months of incarceration to be followed by a term of supervised release of

three years.


                                                   Respectfully Submitted,
                                                   Erek L. Barron
                                                   United States Attorney
                                           By:     ___________/s/______________
                                                   Shabnam Aryana
                                                   Joel Crespo
                                                   Assistant United States Attorneys




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